Case 5:11-cv-00457-WTH-T_S Document 1 Filed 08/08/11 Page 1 of 7 PageID 1
Case 5:11-cv-00457-WTH-T_S Document 1 Filed 08/08/11 Page 2 of 7 PageID 2
Case 5:11-cv-00457-WTH-T_S Document 1 Filed 08/08/11 Page 3 of 7 PageID 3
Case 5:11-cv-00457-WTH-T_S Document 1 Filed 08/08/11 Page 4 of 7 PageID 4
Case 5:11-cv-00457-WTH-T_S Document 1 Filed 08/08/11 Page 5 of 7 PageID 5
Case 5:11-cv-00457-WTH-T_S Document 1 Filed 08/08/11 Page 6 of 7 PageID 6
Case 5:11-cv-00457-WTH-T_S Document 1 Filed 08/08/11 Page 7 of 7 PageID 7
